     Case: 1:22-cv-07121 Document #: 23 Filed: 01/30/23 Page 1 of 1 PageID #:152

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Faes & Company (London) Limited
                                         Plaintiff,
v.                                                       Case No.: 1:22−cv−07121
                                                         Honorable Virginia M. Kendall
Blockware Solutions, LLC
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 30, 2023:


        MINUTE entry before the Honorable Virginia M. Kendall. Briefing schedule set
as to Motion to Dismiss [19]. Response due by 2/13/2023; Reply due by 2/20/2023. Status
hearing set for 3/23/2023 is reset for 4/10/2023 at 9:00 AM. Motion hearing set for
2/2/2023 is stricken. Virtual hearings will be held on Fridays at 9:30 AM. Virtual hearing
requests must be pre−approved by the Court. If you need to appear virtually, send the
attached form to Judge Kendall's courtroom deputy. The courtroom deputy will inform
you as to whether your request has been approved. Mailed notice(lk, )




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